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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CHANDLER, CHRISTOPHER                               )
 Plaintiff,                                          )
                                                     )
            v.                                       )
                                                     )
 BERLIN, DONALD                                      )
 21851 Laurel Wood Court                             )
 Leesburg, VA 20175,                                 )
                                                     )
 INVESTIGATIVE CONSULTANTS, INC.                     )
 21851 Laurel Wood Court                             )
 Leesburg, VA 20175,                                 )     Case No.
                                                     )
 INVESTIGATIVE CONSULTANTS, INC.                     )
 2020 Pennsylvania Ave. NW, Ste. 813                 )
 Washington, D.C. 20006,                             )
                                                     )
 INVESTIGATIVE CONSULTANTS, INC.                     )
 OF WASHINGTON, D.C.                                 )
 2020 Pennsylvania Ave. NW, Ste. 813                 )
 Washington, D.C. 20006,                             )
                                                     )
 and                                                 )
                                                     )
 INVESTIGATIVE CONSULTANTS                           )
 INCORPORATED                                        )
 409 S. Pine Street                                  )
 Richmond, Virginia 23220,                           )
                                                     )
        Defendants.                                  )

                       COMPLAINT AND DEMAND FOR JURY TRIAL

       1.        Plaintiff brings this libel action against Donald Berlin and his web of Defendant

corporate entities doing business as Investigative Consultants Inc. (“ICI”), which Berlin uses to

defraud people seeking investigative services. To entice its clients into paying tens of thousands

of dollars for worthless background reports containing explosive fake accusations about targeted

individuals, ICI exaggerates Mr. Berlin’s credentials and makes baseless claims regarding ICI’s

investigative abilities and human intelligence sources. In reality, Berlin       REDACTED


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            REDACTED                  manufactured imaginary human intelligence sources to back

up his demonstrably false lies.




                                           REDACTED




       2.     On information and belief, ICI is essentially a front for Berlin’s fraudulent activities

and has no employees other than Berlin and his wife Kimberley. Rather than providing legitimate

investigative services, Berlin (through ICI) defrauds consumers by inventing salacious narratives

from his own imagination and weaving those false narratives together with manipulated

information from the public domain.




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         3.       In 2002 and 2003, Berlin attempted to defraud Prince Albert II of Monaco (through

Robert Eringer), into paying for fake background checks on a number of successful expats living

in Monaco, including Plaintiff Christopher Chandler (“Mr. Chandler”) and his brother.

         4.       To entice payment of tens of thousands of dollars for fake reports containing

“derogatory, negative or negative-inference data” about the Chandler brothers, Berlin concocted a

134-page pitch containing false accusations that the Chandlers had engaged in money laundering,

organized crime, Russian espionage, and a conspiracy to commit tortious interference (the

“Pitch”).3

         5.       To falsely accuse the Chandler brothers of money laundering and organized crime,

Berlin’s Pitch falsely conflates the Chandlers’ Monaco-based personal investment company—

Sovereign Asset Management Limited (“Chandler Sovereign”)—with a Bristol-based company

called Sovereign Forex Ltd (“Bristol Sovereign”) and Swiss-based companies called Sovereign

Forex Ltd, Sovereign Finance Group Ltd, Sovereign Capital Management AG, Sovereign Finance

Group Ltd, and Sovereign Bank Corporation Ltd (the “Swiss Sovereign Companies”), which were

reportedly engaged in wrongdoing, but which have never had any relationship or affiliation of any

kind with the Chandlers. Indeed, Sovereign Forex was apparently incorporated in Switzerland in

1977,4 when Mr. Chandler and his brother were teenagers living in New Zealand.

         6.       The Pitch contains verbatim excerpts from news articles Berlin found on the

Internet (that have nothing to do with the Chandlers), which Berlin manipulated to support his

false narrative and then falsely attributed to human intelligence sources.5



3 Pitch at 18, passim (Ex. 1). Plaintiff possesses only the first 34 pages of the Pitch, which are attached as Exhibit 1.
The additional 100 pages of the Pitch are referred to as the “Additional Pages.”
4 Id. at 21.
5 Compare, e.g., Swiss Court Closes Firm in Money Laundering Probe, TAX-NEWS.COM (Oct. 10, 2002), available at

https://www.tax-news.com/news/Swiss_Court_Closes_Firm_In_Money_Laundering_Probe____9642.html (Ex. 2)
with Pitch at 3 (Ex. 1).


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        7.       Berlin’s Pitch also contains an extended description of a legal dispute between

Swiss banking giant Credit Agricole Indosuez (“CAI”) and Russia-based National Reserve Bank

(“NRB”), plus wholly fabricated accusations tying the Chandlers to the dispute by asserting that

they had engaged in a conspiracy with CAI to commit tortious interference against NRB.6 But as

court records and passport documents show, the Chandler brothers had nothing to do with the

dispute between CAI and NRB, were not in Switzerland when the Pitch claims they were there

meeting with CAI, and have never had any relationship or dealings of any kind with CAI.7 The

Pitch attributes Berlin’s fanciful conspiracy accusations to “sources that have direct access to

quality intelligence in both Switzerland and Russia.”8 But based on                  REDACTED               the

contents of the Pitch and communications with Berlin’s attorney prior to the filing of this

complaint Plaintiff believes that Berlin had no Swiss or Russian human intelligence sources but

simply copied large portions of the Pitch relating to CAI from a report he had previously written

for another client-victim, pasted those portions into the Pitch, and then made up and added fake

accusations—falsely attributed to non-existent human sources—in an effort to smear the Chandler

brothers with false connections to CAI, so that he could sell expensive fake reports.

        8.       On information and belief, Berlin’s Pitch also falsely accused the Chandler brothers

of being Russian spies, based in part on false assertions that: (1) in 1999, Mr. Chandler’s brother

was awarded a “third class” Russian order “For Service to the Fatherland”; and (2) in 2002, Mr.

Chandler had organized multiple “dead drops” in France to transfer secret documents, short wave

radios, and large sums of money. The accusations of Russian espionage are absolutely false and,

on information and belief, were simply made up by Berlin.


6 Pitch at 1, 11, passim (Ex. 1).
7 For example, the Pitch claims that Chandler met with CAI in Geneva, Switzerland in May 1996 and in July 2002
(Id. at 2, 15), but Chandler’s passport shows that he did not travel to Switzerland in those years.
8 Id. at 1.




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        9.      Yet because Berlin lacks the Russian expertise and Russian sources he claims to

have, he included sloppy details that someone remotely familiar with the subject matter at hand

never would have included. First, in 1999, it appears that there was no such title as “third class”

order for Russia’s “For Service to the Fatherland.”9 Second, it appears that the Soviet Union

ceased to manufacture and issue shortwave radios in 1989,10 and it would have been impractical

and ridiculous to utilize such obsolete technology in 2002, more than ten years after smartphones

were invented. Apparently, Berlin uses outdated spy novels as inspiration for his stories.

        10.     On information and belief, around November 2004, Eringer used the fake

information from Berlin’s Pitch as the basis for his own writeup about the Chandler brothers, which

he provided to the Prince of Monaco (the “Eringer Report”).11 Indeed, the Eringer Report makes

reference to this arrangement, saying “At this point we were willing, at considerable expense, to

commission a report from special sources with a proven ability to access the Russian SVR’s

registry. Here follows the substance of that report: . . .” (Id. at 5.)

        11.     On information and belief, no one other than Berlin, ICI, and Eringer possessed a

copy of Berlin’s Pitch before November 2017. On information and belief, no one other than

Eringer and Prince Albert (and possibly some of his representatives) possessed a copy of the

Eringer Report until November 2017.

        12.     On information and belief, in November 2017, Eringer sent the first 34 pages of the

Pitch and the Eringer Report (the “Fake Dossier”) to members of the British press.




9  See Государственные награды Российской Федерации - назад медаль ордена "За заслуги перед
Отечеством" [State awards of the Russian Federation – Medal of the Order “For Services to the Fatherland”],
https://orel-region.ru/index.php?head=59&part=55&op=3&id=m2 (Ex. 3).
10 See Spy Radio, Стриж [Strizh], CRYPTO MUSEUM, http://www.cryptomuseum.com/spy/r394/strizh.htm (Ex.

4).
11 Report: The Chandler Brothers (Nov. 2004) (Ex. 5).




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       13.     In May 2018, British media outlets began falsely reporting that Mr. Chandler had

been involved in Russian money laundering and espionage, based on the false assertions contained

in the Fake Dossier.




       14.     Mr. Chandler brings this action to prevent Berlin and ICI from defrauding others

with worthless fake background reports, to set the record straight, to vindicate his reputation, and

to obtain compensatory and punitive damages of at least $15,000,000.00.

                                JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

there is complete diversity of citizenship between Plaintiff and Defendants and the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

       16.     This Court has personal jurisdiction over all Defendants pursuant to § 13-423 of

the District of Columbia Code because Defendants: (i) transacted business within the District of

Columbia; (ii) caused tortious injury in the District of Colombia by acts committed within the

District of Columbia; (iii) caused tortious injury in the District of Columbia by acts committed

outside the District of Columbia while regularly doing business within, engaging in persistent


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conduct within, and deriving substantial revenue from goods consumed and services rendered

within the District of Columbia; and (iv) on information and belief, had an interest in, used, or

possessed real property within the District of Columbia.

       17.     The exercise of personal jurisdiction over Defendants comports with the Due

Process Clause of the United States Constitution for the reasons set forth above.

       18.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because, on information

and belief, a substantial part of the events giving rise to the claims in this Complaint occurred in

this District and because Defendants are subject to the Court’s personal jurisdiction in this District.

                                             PARTIES

       19.     Plaintiff Christopher Chandler is an accomplished businessman and investor. He

is a citizen of New Zealand and currently resides in the United Arab Emirates.

       20.     Defendant Donald Berlin is                          REDACTED

         REDACTED                the principal, owner, and registered agent of the web of Defendant

corporate entities that have done business as Investigative Consultants Inc. (“ICI”) out of an office

in Washington, D.C. since 1996. Berlin is domiciled in Leesburg, Virginia. At all times relevant

to this Complaint, Berlin acted through and as an agent of ICI.

       21.     Defendant Investigative Consultants, Inc. is an Illinois corporation with its

principal place of business at 2020 Pennsylvania Avenue, NW, Ste. 813 in Washington, D.C.

       22.     Defendant Investigative Consultants, Inc. of Washington, D.C., is a Wisconsin

corporation with its principal place of business at 2020 Pennsylvania Avenue, NW, Ste. 813 in

Washington, D.C.

       23.     Defendant Investigative Consultants, Inc. is a Virginia corporation with its reported

office located at Mr. Berlin’s home address of 21851 Laurel Wood Court, Leesburg, Virginia.




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However, on information and belief, this Defendant’s principal place of business is at 2020

Pennsylvania Avenue, NW, Ste. 813 in Washington, D.C.

       24.     Defendant Investigative Consultants Incorporated is a terminated Virginia

corporation. According to corporate records, it previously maintained an office at 409 S. Pine

Street, Richmond, Virginia 23220. However, on information and belief, this Defendant’s principal

place of business was at 2020 Pennsylvania Avenue, NW, Ste. 813 in Washington, D.C.

                                 FACTUAL ALLEGATIONS

                                           REDACTED


       25.     Since 1977, Donald Berlin has owned, operated, and acted as an agent for a web of

corporate entities doing business as ICI, which purports to be an investigations firm.




                                           REDACTED




       28.     In or around 1996, Berlin fled Chicago and set up his illicit ICI operation in

Washington, D.C.




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        29.      On information and belief, Berlin and ICI scam consumers by falsifying ICI’s

expertise, resources, and abilities, and by churning out expensive fake background reports

containing salacious false claims concerning their research targets.

        30.      ICI’s website claims it compiles reports by relying on “proprietary artificial

intelligence” and “30 years [sic] experience in data interpretations, criminal investigations, [and]

psychology.”14

        31.      On information and belief, Berlin is ICI’s only full-time employee, and his wife

Kimberley sometimes provides part-time support.                                REDACTED

        32.      Berlin’s writing is disorganized                  REDACTED                    and riddled with

spelling and grammatical errors                                      REDACTED

                                                REDACTED

     REDACTED           . A few such examples follow:

        Indeeed [sic], upon rechecking, we learned that CAI was seeking to have
        Mr. Zyakhirev . . . withdraw from an agreement.15

        The net result was GazProm decided to no longer back NRB’s capital stock, where
        it is believe [sic] that they had a 30% position. It is believe [sic] that Mr. Chandler
        is being assisted by an elusive individual . . . .16

        The Chandler’s [sic] were able to provide substantial assistance . . . .17

        E) Chandler’s [sic] Links to Organized Crime18

        The Chandler’s [sic] told this unidentified vice president that their company,
        Soveriegn [sic] Forex represented the interests of former Russian nationals . . . .19

        The Chandlers were deeply involved in real estate in Hong King [sic].20

14 See Investigative Consultants Inc., About Us, https://www.icioffshore.com/about/dynamicindex5/ (last visited
Sept. 10, 2018).
15 Pitch at 8 (Ex. 1).
16 Id. at 1.
17 Id. at 2.
18 Id. at 3.
19 Id. at 7.
20 Id. at 16.




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                                           REDACTED




                       After Working as a Tabloid Writer and Barkeep,
                   Robert Eringer Dubs Himself the “Spymaster” of Monaco.

       35.     After working as a tabloid writer and barkeep, Eringer moved to Monaco. During

his time in the city-state, he ingratiated himself to Prince Albert II and, in 1999, told the Prince

that he could unmask traitors in Monaco and expose individuals who were concealing fraudulent

financial activity and money laundering.

       36.     In 2002, Eringer christened himself “Agent 001” and dubbed his unsolicited work

for Prince Albert as the “Monaco Intelligence Service.” According to Prince Albert, Eringer’s so-

called “Monaco Intelligence Service” never existed administratively or legally.

                      Berlin and ICI Use the Pitch in an Effort to Defraud
                   the Prince of Monaco out of Tens of Thousands of Dollars.

       37.     On information and belief, before 2002, Berlin knew Eringer, and was familiar with

his activities and character.

       38.     On information and belief, Eringer contacted Berlin and ICI in the fall of 2002 to

conduct background investigations into a number of successful residents of Monaco, including

Mr. Chandler and his brother.




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        39.      On information and belief, Berlin drafted and published the Pitch to Eringer on

February 24, 2003, to entice payment of tens of thousands of dollars for fake information about

Mr. Chandler and his brother. From ICI’s website:

        At ICI, we never charge for any proposals for our clients. Our proposals will
        provide you a few details regarding your subject. It is done this way to insure [sic]
        that we have targeted the correct person and therefore, can provide you an accurate
        estimate to do the full Global Scan® Service search.22

        40.      The Pitch marketed the following products:

                Investigative Consultants Inc.’s Product23                           Cost
               Homeland Human Intelligence Asset Scan                               $29,000
               (Russia & Monaco)
               Homeland Human Intelligence Asset Scan                               $19,300
               (New Zealand, Australia, Nauru, & Hong
               Kong)
               Global Scans of Mr. Chandler and his brother                         $25,600
               Global Scan of Chandler-Controlled Company                           $19,200
               Archive Data                                                          $4,590
                                                  TOTAL:                            $97,690

        41.      To entice payment of the prices set forth above, the Pitch falsely accused

Mr. Chandler and his brother of engaging in money laundering, organized crime, conspiracy to

commit tortious interference, and Russian espionage.

        42.      To support his false accusations of money laundering and organized crime, Berlin’s

Pitch falsely asserts that the Chandler brothers control various companies with the word

“Sovereign” in their names, which reportedly engaged in wrongdoing: (1) a Bristol-based company

called Sovereign Forex Ltd (“Bristol Sovereign”); (2) Swiss-based companies called Sovereign

Forex Ltd, Sovereign Finance Group Ltd, Sovereign Capital Management AG, Sovereign Finance

Group Ltd, and Sovereign Bank Corporation Ltd (the “Swiss Sovereign Companies”). The Pitch



22 See Investigative Consultants Inc., Our Products/Global Scan,
http://www.icioffshore.com/product/dynamicindex10/ (last visited Sept. 10, 2018).
23 Pitch at 18 (Ex. 1).




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also falsely asserts that “the Chandler brothers directly or indirectly control” certain companies

that the Pitch claims “are related to Sovereign Fourex,” one of the companies reportedly engaged

in wrongdoing.

            43.    For example, the Pitch says:

            Sovereign Fourex [sic] is another company that is owned by the Chandlers . . . .
            The company is very complex, and is basically a front for Russians . . . . Our
            sources indicate[d] that Sovereign Fourex [sic] is a major money-laundering source
            for the Chandlers.24

            44.    Mr. Chandler and his brother have no ownership or affiliation of any kind with

Sovereign Forex. When Sovereign Forex was founded in Switzerland in 1977, the brothers were

teenagers living in New Zealand. Although the brothers’ personal investment company had the

word “Sovereign” in its name, neither brother, nor any company affiliated with them has ever had

any affiliation or relationship of any kind with Sovereign Forex, Bristol Sovereign, or the Swiss

Sovereign Companies.

            45.    According to Berlin’s Pitch, one of his purported international human sources with

connections to “authorities in Switzerland” informed him that Swiss authorities shut down

“Sovereign Finance Group” because of money laundering activities.25 In reality, Berlin lied about

having such a source, and simply copied that information verbatim from a Tax-News.com article

he found on the internet (which was about the Swiss Sovereign Companies that are totally

unrelated to the Chandlers):




24   Id. at 19.
25   Id. at 13.


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               Tax-News.com Article26                                    Berlin’s Pitch27
                                                        On October 7th [sic] 2002, the Swiss
 Dow Jones Newswires reported on Tuesday                investigation resulted in a number of legal
 that a Swiss court has ordered the Zurich-based        actions against Sovereign Finance Group when
 Sovereign Finance Group to close following             a Swiss court ordered the company closed
                                                        because of
 alleged money laundering activities in                 alleged money laundering activities in
 Russia and the Caribbean. The news agency              Russia and the Caribbean.          It is our
 revealed                                               understanding from this source
 that the Swiss Federal Baking Commission               that the Swiss Federal Banking Commission
 ruled at the end of September that the group           ruled at the end of September that the group
 should be shut down.                                   should be shut down.

         46.     Similarly, on April 2, 2002, French daily newspaper Le Monde published an article

detailing how two men named Arkady Gaydamak and Pierre-Joseph Falcon—who have zero

connections to the Chandlers—plundered millions of dollars of funds that were earmarked to repay

Angolan debt to Russia. Although the Le Monde article had nothing to do with the Chandlers,

Berlin copied a portion of it and then manipulated the information to substitute Mr. Chandler and

his brother for the alleged wrongdoers and make it appear as though the brothers were laundering

money for Russians.

                 Le Monde Article28                                     Berlin’s Pitch29
     Mr. Falcone opened accounts in 1998 with           [Credit Agricole] has been opening accounts
     the names of three Panamanian                      for them [the Chandlers] in the name of
     companies                                          Panamanian registered companies such as
     (Dramal, Camparal and Tutorial),                   Dramal, Camparal, and Tutoral [sic]
     at the International Bank of Luxembourg            at the International Bank of Luxembourg
     (BIL).                                             (BIL).




26 Swiss Court Closes Firm in Money Laundering Probe, TAX-NEWS.COM (Oct. 10, 2002), https://www.tax-
news.com/news/Swiss_Court_Closes_Firm_In_Money_Laundering_Probe____9642.html (Ex. 2).
27 Pitch at 3 (Ex. 1).
28 Fabrice Lhomme & Piotr Smolar, Le règlement de la dette angolaise aurait donné lieu à des détournements de

fonds [Angolan debt settlement allegedly embezzled funds], LE MONDE (April 2, 2002),
https://www.lemonde.fr/archives/article/2002/04/03/le-reglement-de-la-dette-angolaise-aurait-donne-lieu-a-des-
detournements-de-fonds_4243463_1819218.html?xtmc=russo_angolais&xtcr=6 (Ex. 9).
29 Pitch at 5 (Ex. 1).




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       47.     In reality, neither Mr. Chandler nor his brother has ever laundered money and they

have no affiliation of any kind with Gaydamak, Falcone, Dramal, Camparal, or Tutorial.

       48.     The Pitch also falsely accuses the Chandlers of “conspiracy to commit tortious

interference,” based on an imaginary relationship between the Chandler brothers, on the one hand,

and CAI, on the other hand. In essence, the Pitch claims that CAI recruited the brothers to help

drive NRB out of business. These accusations are totally false; the Chandler brothers never

engaged in conspiracy to commit tortious interference and they never had any relationship or

dealings of any kind with CAI. While the Pitch claims that Mr. Chandler met with CAI in Geneva,

Switzerland in May 1996 and in July 2002, Mr. Chandler’s passport shows that he did not travel

to Switzerland in those years.

       49.     On information and belief, in the Additional Pages of the Pitch, Berlin falsely

accused Mr. Chandler of money laundering and organized crime, based on the false premise that

Mr. Chandler and his brother are affiliated with Sovereign Forex, Bristol Sovereign, and the Swiss

Sovereign Companies.

       50.     On information and belief, in the Additional Pages, Berlin also falsely accused the

Chandlers of being Russian spies, based in part on: (1) false accusations that Mr. Chandler and his

brother participated in “dead drops” (including of short wave radios in 2002); and (2) the false

accusation that in 1999, Mr. Chandler’s brother was awarded a “third class” Russian order “For

Service to the Fatherland.”

       51.     These accusations are totally false. The Chandler brothers have never been spies

for any nation, let alone Russia.




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        52.     In 1999, there was apparently no such thing as a “third class” order for Russia’s

“For Service to the Fatherland.”30

        53.     On information and belief, Russian intelligence agencies did not use short wave

radios 2002 because, at that point, short-wave radios were outdated and had been supplanted by

more modern technology.

                              Eringer Writes a Fake Report Based on
                the False Information Berlin and ICI Manufactured and Provided.

        54.     On information and belief, around November 2004, Eringer used the fake

information from Berlin’s Pitch as the basis for the Eringer Report, and gave the Eringer Report

to the Prince of Monaco.

        55.     The Eringer Report states that Eringer decided “to commission a report from special

sources with a proven ability to access the Russian SVR’s registry” and that he did so “at

considerable expense.” On information and belief, this refers to the purchase of the false

information from Berlin and ICI.

        56.     In the Eringer Report, Eringer repeats the bogus claims made in Berlin’s Pitch about

Mr. Chandler.

           Berlin’s Pitch and the Eringer Report Are Circulated to the British Media,
                  Causing Enormous Harm to Mr. Chandler and His Brother.

        57.     On information and belief, Eringer sent the Fake Dossier to members of the British

press in November 2017.




30 See Государственные награды Российской Федерации - назад медаль ордена “За заслуги перед
Отечеством” [State awards of the Russian Federation – Medal of the Order “For Services to the Fatherland”],
https://orel-region.ru/index.php?head=59&part=55&op=3&id=m2 (Ex. 3).


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        58.      In May 2018, British media outlets began falsely reporting that Mr. Chandler had

been involved in Russian money laundering and espionage, based on the false assertions contained

in the Fake Dossier.31


31 See, e.g., TOM HARPER, JON UNGOED-THOMAS & RICHARD KERBAJ, Brexit, dirty tricks and an international game of
I spy, THE SUNDAY TIMES (Dec. 3, 2017, 12:01 AM), https://www.thetimes.co.uk/article/233de870-d78a-11e7-945f-
b625fa742a9e; ROBERT HUTTON & JESS SHANKLEMAN, Brexit-Backing Think Tank Founder Accused of Working for
Russia, BLOOMBERG (May 1, 2018, 1:36 PM), https://www.bloomberg.com/news/articles/2018-05-01/brexit-backing-
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        59.      Defendants’ false accusations in the Fake Dossier have caused enormous harm to

Mr. Chandler.

                                    COUNT ONE – LIBEL PER SE
                                     The First 34 Pages of the Pitch
                                       (Against All Defendants)

        60.      Mr. Chandler repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

        61.      On information and belief, on or before February 24, 2003, Berlin composed the

Pitch for the purpose of enticing payment of tens of thousands of dollars for fake reports containing

false “derogatory, negative or negative-inference data” about Mr. Chandler.32

        62.      On information and belief, on or about February 24, 2003, Berlin privately sent the

Pitch to Eringer. On information and belief, no one other than Berlin or Eringer had a copy of the

Pitch until November 2017, when Eringer sent the first 34 pages of the Pitch and the Eringer Report

(the “Fake Dossier”) to members of the media. The British press began publishing the false




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ft.com/content/50952a76-64da-11e8-a39d-4df188287fff; MARTIN BECKFORD, Brexit’s secret Putin connection: Nigel
Farage’s bankroller met Russian envoy three times then hooked him up with Trumps’s team, as MI5 is urged to act,
MAIL ONLINE (June 9, 2018, 10:01 PM), http://www.dailymail.co.uk/news/article-5825129/Nigel-Farages-bankroller-
met-Russian-envoy-three-times-hooked-Trumps-team.html (Ex. 10).
32 Pitch at 18 (Ex. 1).




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accusations from the Fake Dossier in May 2018. On information and belief, neither the Pitch nor

the Eringer Report was publicly available, published online, or published by any media outlet

before May 2018.

       63.     Personally, and through his agents, Mr. Chandler regularly monitors the press for

articles that mention him. Although Mr. Chandler first learned of the false accusations of Russian

espionage and money laundering in November 2017, he did not receive a copy of the first 34 pages

of the Pitch or the Eringer Report until May 2018.

       64.     The first 34 pages of the Pitch contain the following libelous false accusations about

Mr. Chandler: that he engaged in “money laundering,” “laundering money,” and a “money-

laundering scheme;” worked for and was involved with “organized crime;” and engaged in

“conspiracy to commit tortious interference.” The Pitch repeatedly and falsely accuses Mr.

Chandler of these crimes, both directly and through false purported affiliations with companies

that Mr. Chandler is not affiliated with in any way, including: (1) Bristol Sovereign, (2) the Swiss

Sovereign Companies, and (3) CAI (Bristol Sovereign, the Swiss Sovereign Companies, and CAI

are referred to collectively as the “Unrelated Companies”).

       65.     The libelous false statements in the Pitch are of and concerning Mr. Chandler, who

is: (1) one of two subjects of the Pitch, (2) repeatedly identified by name throughout the Pitch, and

(3) identified in the Pitch as the owner, controller, or affiliate of the Unrelated Companies that the

Pitch accuses of being used for criminal activities. Berlin intended that any reader of the Pitch

would understand the libelous false statements—including the statements about the Unrelated

Companies—to be of and concerning Mr. Chandler, and the statements were so understood by

those who read them. Indeed, Berlin’s Pitch appears to have been the source of some of the false

statements in the Eringer Report titled: “Report: The Chandler Brothers,” showing that Eringer




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understood the statements in Berlin’s Pitch to be of and concerning Mr. Chandler and his brother.

           66.      The statements are libelous per se because they falsely impute the commission of

indictable offenses involving moral turpitude that injure one’s social standing.

           67.      The libelous statements are false. Mr. Chandler and his brother have never—either

directly or indirectly through the use of companies—engaged in money laundering, organized

crime, or conspiracy to commit tortious interference. More specifically:

                    (a)      Companies with the word “Sovereign” in their names. Mr. Chandler and
                             his brother did not fund—and have never had any relationship of any kind
                             with—Sovereign Forex, Bristol Sovereign, or the Swiss Sovereign
                             Companies, nor did they have any involvement in the nefarious activities
                             that the Pitch claims those companies were engaged in. When Sovereign
                             Forex was incorporated in Switzerland in 1977, Mr. Chandler and his
                             brother were teenagers living in New Zealand.33 Although the Chandler
                             brothers invested through a company that had the word “Sovereign” in its
                             name (“Chandler Sovereign”), that company has never had any relationship
                             of any kind with Sovereign Forex, Bristol Sovereign, or the Swiss
                             Sovereign Companies. Chandler Sovereign was originally formed in
                             Monaco and later relocated to Dubai. The only connection between the
                             Chandler Sovereign, on the one hand, and Sovereign Forex, Bristol
                             Sovereign, and the Swiss Sovereign Companies, on the other hand, is a
                             simple coincidence: they happen to have the word “Sovereign” in their
                             names. Chandler Sovereign is not a “front company,” nor is it controlled
                             by Gazprom. Chandler Sovereign never purchased any Gazprom shares on
                             behalf of any Gazprom senior executives, nor was it ever intended the
                             Chandler Sovereign would do so.

                    (b)      Organized Crime. Mr. Chandler and his brother have never worked for or
                             enjoyed the “protection” of any Russian organized crime group, the
                             Solnetsevo Group, the Far Eastern Group, Vladimir Putin, or Boris Yeltsin.
                             The brothers never created any offshore companies to represent the interests
                             of Russian organized crime members.

                    (c)      Money Laundering. Mr. Chandler and his brother have never engaged in
                             money laundering. Neither of the brothers nor their companies have
                             relationships—let alone money-laundering relationships—with the senior
                             management of Lukoil or UES. The Chandlers do not, either directly or
                             through their companies, launder money or hold shares for BP/Amoco,
                             Total/Fina/Elf, or the Trump Group. CAI never forwarded any funds to
                             companies created by the Chandler brothers on behalf of their customers in

33   See Pitch at page 21.


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           cash haven countries, such as Nauru, Cayman Islands, British Virgin
           Islands, or other localities. Mr. Chandler and his brother never created any
           such companies on behalf of any customers.

     (d)   Vladimir Putin. The Chandler brothers never used Sovereign Forex to buy
           $10 million worth of Yukos and Gazprom shares for Russian President
           Vladimir Putin. They do not know, have never communicated with, and
           have never done any work for Putin. As set forth above, they have never
           had any affiliation of any kind with Sovereign Forex.

     (e)   Mikhail Kasyanov. Mr. Chandler and his brother never acquired $4 million
           worth of Gazprom shares for Russian Prime Minister Mikhail Kasyanov.
           They do not know, have never communicated with, and have never done
           any work for Kasyanov.

     (f)   Igor Ivanov. Mr. Chandler and his brother never acquired $1 million worth
           of Lukoil shares for Russian Foreign Minister Igor Ivanov. They do not
           know, have never communicated with, and have never done any work for
           Ivanov.

     (g)   Col. Donald Scott. Mr. Chandler and his brother do not know and have
           never communicated with or been assisted by Col. Donald Scott or Pasteur
           Enterprises.

     (h)   CAI. Mr. Chandler and his brother have never had any relationship of any
           kind with CAI, nor did they have any involvement in the nefarious activities
           that the Pitch claims that company was engaged in. The Chandlers have
           never met or communicated with representatives from CAI about NRB,
           Gazprom, Sovereign Forex, or channeling money from Russian clients
           through Switzerland to offshore accounts. The Chandlers have never
           communicated with anyone from CAI. The brothers have never had any
           relationship with CAI and have never received any fees from CAI. The
           Chandlers never worked with an International Vice President (or any other
           employee) of CAI, nor did CAI ever grant Mr. Chandler and his brother
           access to its Geneva facility. Mr. Chandler and his brother have never been
           to CAI’s Geneva facility. As Mr. Chandler’s passport shows, he did not
           travel to Switzerland in 1996 or 2002, years when the Pitch claims he met
           with CAI in Geneva, Switzerland. The brothers did not broker the
           introduction of Credit Agricole Swiss to senior officials of the Libyan
           government or arrange to transfer $18 million from Libya to various
           Russian banks via Credit Agricole Swiss. They have never had any
           communications with anyone from Credit Agricole Swiss about anything to
           do with the Libyan government, nor do they know or have any
           communications with any officials of the Libyan government.

     (i)   Gazprom. Mr. Chandler and his brother historically held a minority stake
           in Gazprom. Although the Chandlers—along with a consortium of Western


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                        investors—supported the corporate governance reform of electing Russia’s
                        well-respected former minister of finance, Boris Fyodorov, to Gazprom’s
                        board of directors in 2000, they have never worked for Fyodorov. Neither
                        Fyodorov nor other Gazprom executives have ever been customers of the
                        Chandlers, or their companies. The Chandlers have never been “front men”
                        or “front men financiers” for former officials of Gazprom. The brothers
                        never created any offshore companies to represent the interests of high-level
                        former Gazprom executives. They never attempted to influence Rem
                        Vyakhirev (the former president of Gazprom) in the hopes that Vyakhirev
                        would decide that Gazprom would not act as a 30% guarantor of NRB’s
                        registered capital, nor did they ever plan to do so. The brothers never had
                        any communications of any kind about NRB with Vyakhirev. Mr. Chandler
                        and his brother do not have the “protection” of any Gazprom officials or
                        Gazprom board members. They have never made any payments to any
                        former Gazprom officials, either to “secret accounts” created by Sovereign
                        Forex or otherwise. The Chandlers never acquired $47.5 million worth of
                        Gazprom shares for Total/Fina/Elf, nor did they receive $1.2 million for
                        handling such acquisition. They never bought $25 million worth of
                        Gazprom shares for the Bank Credit Agricole Swiss, nor did they receive
                        $750,000 for such efforts.

       68.      Berlin and ICI acted with actual malice in publishing the libelous statements in the

Pitch. Evidence of their actual malice includes the following:

       •     From the beginning, Berlin knew he did not have Swiss or Russian human intelligence
             or other sources and expertise required to provide an accurate background report on the
             Chandlers, so he set out to prepare a fictitious report about them.

       •     Berlin intentionally invented salacious accusations about the Chandler brothers in an
             effort to entice his marks to pay tens of thousands of dollars for additional fake reports
             about them.

       •     To this day, even after being informed that his false accusations have caused
             considerable harm to Mr. Chandler’s reputation, Berlin has refused to repudiate the
             Pitch and set the record straight.

       •     On information and belief, discovery of testimony, communications, and documents
             relating to the financing, research, drafting, and editing of the Pitch will reveal
             substantial additional evidence of Berlin’s actual malice.

       •     At all relevant times, Berlin was acting as an agent of ICI, and his actions and evidence
             of his actual malice is therefore attributable to ICI.

       69.      Defendants made the libelous statements intentionally, willfully, maliciously, and

in conscious disregard of Mr. Chandler’s rights and reputation and of the truth.


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            70.      Defendants had no applicable privilege or legal authorization to publish these false

and libelous statements.

            71.      In addition to injuries presumed by law, these libelous falsehoods have injured—

and will continue to injure—Mr. Chandler in at least the following ways:

                     (a)    By accusing Mr. Chandler of serious crimes;

                     (b)    By impugning Mr. Chandler’s reputation;

                     (c)    By ascribing to Mr. Chandler conduct that would adversely affect his fitness
                            for proper conduct as a businessman; and

                     (d)    By causing Mr. Chandler damages in other ways yet to be determined.

            72.      Defendants are liable to Mr. Chandler for compensatory damages arising out of

their defamation of Mr. Chandler.

            73.      Defendants are also liable to Mr. Chandler for punitive damages because of the

wanton and outrageous nature of their conduct.

                                     COUNT TWO – LIBEL PER SE
                                     The Additional Pages of the Pitch
                                         (Against All Defendants)

            74.      Mr. Chandler repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

            75.      On information and belief, on or before February 24, 2003, Berlin composed the

Pitch for the purpose of enticing payment of tens of thousands of dollars for fake reports containing

false “derogatory, negative or negative-inference data” about Mr. Chandler.34

            76.      On information and belief, on or about February 24, 2003, Berlin privately sent the

Pitch to Eringer.

            77.      On information and belief, in November 2017, Eringer first sent the Fake Dossier


34   Pitch at 18 (Ex. 1).


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to members of the media. The British press began publishing the false accusations from the Fake

Dossier in May 2018. On information and belief, the Fake Dossier was not publicly available,

published online, or published by any media outlet before May 2018.

       78.     Personally, and through his agents, Mr. Chandler regularly monitors the press for

articles that mention him. Although Mr. Chandler first learned of the false accusations of Russian

espionage and money laundering in November 2017, he did not obtain a copy of the first 34 pages

of the Pitch, the Eringer Report, or the Fake Dossier until May 2018. He has not yet obtained a

copy of the Additional Pages. On information and belief, the Additional Pages are not publicly

available.

       79.     On information and belief, Additional Pages contain the following libelous false

accusations about Mr. Chandler: that he engaged in money laundering, organized crime, and

Russian espionage. The Additional Pages falsely accuse Mr. Chandler of these crimes, both

directly and through false, purported affiliations with the Unrelated Companies.

       80.     The libelous false statements in the Additional Pages are of and concerning Mr.

Chandler, who is: (1) one of two subjects of the Additional Pages, (2) repeatedly identified by

name throughout the Additional Pages, and (3) identified in the Additional Pages as the owner,

controller, or affiliate of the Unrelated Companies that the Additional Pages accuse of being used

for criminal activities. Berlin intended that any reader of the Additional Pages would understand

the libelous false statements—including the statements about the Unrelated Companies—to be of

and concerning Mr. Chandler, and the statements were so understood by those who read them.

Indeed, the Additional Pages appear to have been the source of some of the false statements in the

Eringer Report titled: “Report: The Chandler Brothers,” showing that Eringer understood the

statements in the Additional Pages to be of and concerning Mr. Chandler and his brother.




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            81.      The statements are libelous per se because they falsely impute the commission of

indictable offenses involving moral turpitude that injure one’s social standing.

            82.      The libelous statements are false. Mr. Chandler and his brother have never—either

directly or indirectly through the use of companies—engaged in money laundering, organized

crime, or Russian espionage. More specifically:

                     (a)        Companies with the word “Sovereign” in their names. Mr. Chandler and
                                his brother did not fund—and have never had any relationship of any kind
                                with—Sovereign Forex, Bristol Sovereign, or the Swiss Sovereign
                                Companies, nor did they have any involvement in the nefarious activities
                                that the Pitch claims those companies were engaged in. When Sovereign
                                Forex was incorporated in Switzerland in 1977, Mr. Chandler and his
                                brother were teenagers living in New Zealand.35 Although the Chandler
                                brothers invested through a company that had the word “Sovereign” in its
                                name (“Chandler Sovereign”), that company has never had any relationship
                                of any kind with Sovereign Forex, Bristol Sovereign, or the Swiss Sovereign
                                Companies. Chandler Sovereign was originally formed in Monaco and later
                                relocated to Dubai. The only connection between the Chandler Sovereign,
                                on the one hand, and Sovereign Forex, Bristol Sovereign, and the Swiss
                                Sovereign Companies, on the other hand, is a simple coincidence: they
                                happen to have the word “Sovereign” in their names. Chandler Sovereign
                                is not a “front company,” nor is it controlled by Gazprom. Chandler
                                Sovereign never purchased any Gazprom shares on behalf of any Gazprom
                                senior executives, nor was it ever intended the Chandler Sovereign would
                                do so.

                     (b)        Organized Crime. Mr. Chandler and his brother have never worked for or
                                enjoyed the “protection” of any Russian organized crime group, the
                                Solnetsevo Group, the Far Eastern Group, Vladimir Putin, or Boris Yeltsin.
                                The brothers never created any offshore companies to represent the interests
                                of Russian organized crime members.

                     (c)        Money Laundering. Mr. Chandler and his brother have never engaged in
                                money laundering. Neither of the brothers nor their companies have
                                relationships—let alone money-laundering relationships—with the senior
                                management of Lukoil or UES. The Chandlers do not, either directly or
                                through their companies, launder money or hold shares for BP/Amoco,
                                Total/Fina/Elf, or the Trump Group. CAI never forwarded any funds to
                                companies created by the Chandler brothers on behalf of their customers in
                                cash haven countries, such as Nauru, Cayman Islands, British Virgin


35   See Pitch at 21 (Ex. 1).


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           Islands, or other localities. Mr. Chandler and his brother never created any
           such companies on behalf of any customers.

     (d)   Vladimir Putin. The Chandler brothers never used Sovereign Forex to buy
           $10 million worth of Yukos and Gazprom shares for Russian President
           Vladimir Putin. They do not know, have never communicated with, and
           have never done any work for Putin. As set forth above, they have never
           had any affiliation of any kind with Sovereign Forex.

     (e)   Mikhail Kasyanov. Mr. Chandler and his brother never acquired $4 million
           worth of Gazprom shares for Russian Prime Minister Mikhail Kasyanov.
           They do not know, have never communicated with, and have never done
           any work for Kasyanov.

     (f)   Igor Ivanov. Mr. Chandler and his brother never acquired $1 million worth
           of Lukoil shares for Russian Foreign Minister Igor Ivanov. They do not
           know, have never communicated with, and have never done any work for
           Ivanov.

     (g)   Col. Donald Scott. Mr. Chandler and his brother do not know and have
           never communicated with or been assisted by Col. Donald Scott or Pasteur
           Enterprises.

     (h)   CAI. Mr. Chandler and his brother have never had any relationship of any
           kind with CAI, nor did they have any involvement in the nefarious activities
           that the Pitch claims that company was engaged in. The Chandlers have
           never met or communicated with representatives from CAI about NRB,
           Gazprom, Sovereign Forex, or channeling money from Russian clients
           through Switzerland to offshore accounts. The Chandlers have never
           communicated with anyone from CAI. The brothers have never had any
           relationship with CAI and have never received any fees from CAI. The
           Chandlers never worked with an International Vice President (or any other
           employee) of CAI, nor did CAI ever grant Mr. Chandler and his brother
           access to its Geneva facility. Mr. Chandler and his brother have never been
           to CAI’s Geneva facility. As Mr. Chandler’s passport shows, he did not
           travel to Switzerland in 1996 or 2002, years when the Pitch claims he met
           with CAI in Geneva, Switzerland. The brothers did not broker the
           introduction of Credit Agricole Swiss to senior officials of the Libyan
           government or arrange to transfer $18 million from Libya to various
           Russian banks via Credit Agricole Swiss. They have never had any
           communications with anyone from Credit Agricole Swiss about anything to
           do with the Libyan government, nor do they know or have any
           communications with any officials of the Libyan government.

     (i)   Gazprom. Mr. Chandler and his brother historically held a minority stake
           in Gazprom. Although the Chandlers—along with a consortium of Western
           investors—supported the corporate governance reform of electing Russia’s


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                        well-respected former minister of finance, Boris Fyodorov, to Gazprom’s
                        board of directors in 2000, they have never worked for Fyodorov. Neither
                        Fyodorov nor other Gazprom executives have ever been customers of the
                        Chandlers, or their companies. The Chandlers have never been “front men”
                        or “front men financiers” for former officials of Gazprom. The brothers
                        never created any offshore companies to represent the interests of high-level
                        former Gazprom executives. They never attempted to influence Rem
                        Vyakhirev (the former president of Gazprom) in the hopes that Vyakhirev
                        would decide that Gazprom would not act as a 30% guarantor of NRB’s
                        registered capital, nor did they ever plan to do so. The brothers never had
                        any communications of any kind about NRB with Vyakhirev. Mr. Chandler
                        and his brother do not have the “protection” of any Gazprom officials or
                        Gazprom board members. They have never made any payments to any
                        former Gazprom officials, either to “secret accounts” created by Sovereign
                        Forex or otherwise. The Chandlers never acquired $47.5 million worth of
                        Gazprom shares for Total/Fina/Elf, nor did they receive $1.2 million for
                        handling such acquisition. They never bought $25 million worth of
                        Gazprom shares for the Bank Credit Agricole Swiss, nor did they receive
                        $750,000 for such efforts.

                (j)     Russian espionage. Mr. Chandler and his brother have never been spies or
                        engaged in espionage for any country, let alone Russia. They have never
                        participated in dead drops. Mr. Chandler’s brother was never awarded a
                        Russian order “For Service to the Fatherland” or otherwise.

       83.      Berlin and ICI acted with actual malice in publishing the libelous statements in the

Additional Pages. Evidence of their actual malice includes the following:

       •     From the beginning, Berlin knew he did not have the Swiss or Russian human
             intelligence sources or other sources and expertise required to provide an accurate
             background report on the Chandler brothers, so he set out to prepare fictitious reports
             about them.

       •     Berlin intentionally invented salacious accusations about the Chandlers in the fake
             reports, in order to justify the tens of thousands of dollars he had received for the fake
             reports.

       •     To this day, even after being informed that his false accusations have caused
             considerable harm to Mr. Chandler’s reputation, Berlin has refused to repudiate the
             fake reports and set the record straight.

       •     On information and belief, discovery of testimony, communications, and documents
             relating to the financing, research, drafting, and editing of the fake reports will reveal
             substantial additional evidence of Berlin’s actual malice.

       •     At all relevant times, Berlin was acting as an agent of ICI, and his actions and evidence


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             of his actual malice is therefore attributable to ICI.

       84.       Defendants made the libelous statements intentionally, willfully, maliciously, and

in conscious disregard of Mr. Chandler’s rights and reputation and of the truth.

       85.       Defendants had no applicable privilege or legal authorization to publish these false

and libelous statements.

       86.       In addition to injuries presumed by law, these libelous falsehoods have injured—

and will continue to injure—Mr. Chandler in at least the following ways:

                 (k)     By accusing Mr. Chandler of serious crimes;

                 (l)     By impugning Mr. Chandler’s reputation;

                 (m)     By ascribing to Mr. Chandler conduct that would adversely affect his fitness
                         for proper conduct as a businessman; and

                 (n)     By causing Mr. Chandler damages in other ways yet to be determined.

       87.       Defendants are liable to Mr. Chandler for compensatory damages arising out of

their defamation of Mr. Chandler.

       88.       Defendants are also liable to Mr. Chandler for punitive damages because of the

wanton and outrageous nature of their conduct.

                                       PRAYER FOR RELIEF

       WHEREFORE, Mr. Chandler respectfully requests that the Court enter an award and

judgment in his favor, and against all Defendants jointly and severally, as follows:

                 (o)     awarding Mr. Chandler compensatory damages of not less than
                         $10,000,000.00;

                 (p)     awarding Mr. Chandler punitive damages of not less than $5,000,000.00;

                 (q)     awarding Mr. Chandler all expenses and costs, including attorneys’ fees;
                         and

                 (r)     such other and further relief as the Court deems appropriate.




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                                      JURY DEMAND

      Mr. Chandler demands a trial by jury on all claims and issues so triable.


Date: September 14, 2018
                                             /s/ Thomas A. Clare, P.C
                                            Thomas A. Clare, P.C. (D.C. Bar No. 461964)
                                            Megan L. Meier (D.C. Bar No. 985553)
                                            Daniel P. Watkins (pro hac vice pending)
                                            10 Prince Street
                                            Alexandria, VA 22314
                                            (202) 628-7400
                                            tom@clarelocke.com
                                            megan@clarelocke.com
                                            daniel@clarelocke.com
                                            Attorneys for Plaintiff Christopher Chandler




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